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IN THE UNITED STATES DISTRICT COURT AM
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
UNITED STATES OF AMERICA NO.
v. 8-25CcR-121 &
VERNIKA TATE (01)
INFORMATION

The United States Attorney charges:

Count One
Conspiracy to Make a False Statement to a Bank
(Violation of 18 U.S.C. § 371 (18 U.S.C. § 1014))

1. In or about June 2020, the defendant, Vernika Tate, and others both
known and unknown to the United States Attorney, in the Northern District of Texas and
elsewhere, did willfully and knowingly combine, conspire, confederate, and agree
together and with each other to make a false statement for the purpose of influencing the
actions of a financial institution, the deposits of which were insured by the Federal
Deposit Insurance Corporation (“FDIC”), in violation of 18 U.S.C. § 1014.

Introduction and Parties

Dos The defendant, Vernika Tate, was a resident of Dallas, Texas, in the Dallas
Division of the Northern District of Texas.
3: The Ms. V’s Maximum Tax (“MVMT”) was a sole proprietorship owned

and operated by Tate.

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4. Regions Bank was a financial institution, the accounts of which were
insured by the FDIC.

5. The Paycheck Protection Program (PPP), implemented by the Small
Business Administration, was a COVID-19 relief program that, among other things,
provided small businesses with forgivable loans to pay for payroll and certain other
expenses. Under the PPP, participating third-party lenders approved loan applications
and disbursed PPP loans to qualifying businesses.

6. To obtain a PPP loan, a business was required to submit a PPP loan
application to a third-party lender. In the PPP loan application, the business was required
to state, among other things, the business’s average monthly payroll expenses and its
number of employees. This payroll information was used to calculate the amount of
funds that the business was eligible to receive as a PPP loan.

Object of the Conspiracy

7. It was a part and object of the conspiracy for Vernika Tate and her
coconspirators to unlawfully enrich themselves by submitting and causing the submission
of false and fraudulent applications for PPP loans and using the proceeds of the fraud for
their personal use.

Manner and Means of the Conspiracy

8. The manner and means by which the defendants sought to effect the objects
of the conspiracy included, among others, the following:
a. It was part of the conspiracy that Tate, conspiring with others,
prepared and submitted, and caused to be prepared and submitted, a false and fraudulent

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PPP loan application on behalf of MVMT to a financial institution in which she made
multiple materially false and fraudulent representations, such as: (i) falsely stating and
inflating the business’s number of employees; and (ii) misstating and inflating the
business’s monthly payroll.

b. Additionally, Tate, conspiring with others, prepared and submitted,
and caused to be prepared and submitted, Internal Revenue Service (IRS) tax documents
that were purportedly filed on behalf of him individually and MVMT, including IRS
Forms 1040 Individual Income Tax Returns, IRS Forms 940 Employer’s Annual Federal
Unemployment Tax Returns, and IRS Forms 941 Employer’s Quarterly Federal Tax
Returns. However, the forms submitted to the financial institution had not been filed
with the IRS and contained false information regarding Tate and MVMT.

Overt Acts in Furtherance of the Conspiracy

9. In furtherance of the conspiracy and to effect its object, Tate, conspiring
with others, submitted and caused to be submitted a PPP loan application to Regions
Bank, on or about June 15, 2020 on behalf of MVMT, that falsely stated the monthly
payroll in order to induce Regions Bank to approve a PPP loan in the amount of $58,600.

All in violation of 18 U.S.C. § 371 (18 U.S.C. § 1014).

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